 1

 2

 3

 4

 5

 6

 7
                                    UNITED STATES BANKRUPTCY COURT
 8                                  WESTERN DISTRICT OF WASHINGTON
 9
       In re: DARRYL LANE TIBBLES                           Case No. 22-41341-MJH
10            MICHELLE ROBIN TIBBLES
                                                            ORDER APPROVING ATTORNEY’S
11                                     Debtor(s).           COMPENSATION
12
             THIS MATTER came before the Court on the Attorney’s Application for Compensation in a
13
     Chapter 13 Case filed by      Ellen Ann Brown                                           . (“Applicant”).
14
     Based on the application,
15
             It is hereby ORDERED that:
16
             1.     Applicant is awarded compensation of $____1537.50___________________ as an
17
             administrative expense under 11 U.S.C. § 503(b).
18
             2.     The compensation shall be paid according to the confirmed plan or, if a plan is never
19           confirmed, prior to dismissal or conversion (subject to applicable Trustee’s fee).

20           3.      Unless the Court orders otherwise, if this case is dismissed or converted after plan
             confirmation, the Chapter 13 Trustee shall send undisbursed plan payments on hand to debtor(s)
21           in care of the Applicant, if the Applicant is the debtor(s)’ attorney at the time of dismissal or
             conversion.
22                                             / / /End of Order/ / /
23   Presented by:
24   /s/ Ellen Ann Brown
                                         _
     Attorney for Debtor(s), WSBA #27992
25   1700 Cooper Pt Rd SW #C5, Olympia, WA 98502


     Order Approving Attorney’s Compensation
     Local Forms W.D. Wash. Bankr., Form 13-10
     Eff. 12/19
